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 6                        IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
 8
 9    Bahig Saliba,                                      No. CV-22-00543-PHX-JJT
10                    Plaintiff,                         ORDER
11    v.
12    Spokane International Airport, et al.,
13                    Defendants.
14
15           On May 4, 2022, Defendants filed a Motion to Dismiss for Lack of Personal
16   Jurisdiction (Doc. 12). Because Plaintiff is acting pro se in this matter, the Court advises
17   Plaintiff of the following:
18   I.      RULE 7.2(i) CAUTIONARY NOTICE
19           LRCiv 7.2(i) states in relevant part: “[I]f the opposing party does not serve and file
20   the required answering memoranda . . . such non-compliance may be deemed a consent to
21   the denial or granting of the motion and the Court may dispose of the motion summarily.”
22   See Brydges v. Lewis, 18 F.3d 651, 652 (9th Cir. 1994). Plaintiff should take notice that
23   failure to respond to Defendants’ Motion by the deadline set forth in this Order will result
24   in the Court deeming Defendants’ Motion as being unopposed and consented to by
25   Plaintiff. See id. (affirming the district court’s summary granting of a motion for summary
26   judgment under Local Rule 7.2(i) when non-moving party was given express warning of
27   consequences of failing to respond).
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 1            It is Plaintiff’s obligation to timely respond to all motions. Defendants’ Motion will
 2   be summarily granted if Plaintiff fails to respond in accordance with the provisions of this
 3   Order.
 4   II.      RULE 41 CAUTIONARY NOTICE
 5            Plaintiff should also take notice that if he fails to timely comply with every provision
 6   of this Order, or any other Order of the Court entered in this matter, Plaintiff’s Complaint
 7   and this action may also be dismissed pursuant to Rule 41(b) of the Federal Rules of Civil
 8   Procedure. See Ferdik v. Bonzelet, 963 F.2d 1258, 1260 (9th Cir. 1992) (holding that the
 9   district court may dismiss an action for failure to comply with any order of the court), cert
10   denied, 506 U.S. 915 (1992). Therefore, Plaintiff is warned that failure to strictly adhere to
11   the provisions of this or any other Court Order may result in dismissal of the Plaintiff’s
12   Complaint pursuant to Rule 41.
13            The Court also advises Plaintiff that certain resources for self-represented parties,
14   including a handbook and the Local Rules, are available on the Court’s website,
15   www.azd.uscourts.gov, by following the link “For Those Proceeding Without an
16   Attorney.”
17            Accordingly,
18            IT IS ORDERED that Plaintiff shall file with the Clerk of the Court and serve on
19   opposing counsel a responsive memorandum to Defendants’ Motion to Dismiss for Lack
20   of Personal Jurisdiction (Doc. 12) no later than May 26, 2022.
21            Dated this 5th day of May, 2022.
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23                                             Honorable John J. Tuchi
                                               United States District Judge
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